         Case 3:14-cv-03630-LB Document 57-2 Filed 06/30/17 Page 1 of 10


1    PAUL DAVID MAROTTA (State Bar No. 111812)
     MEGAN JEANNE (State Bar No. 251294)
2    THE CORPORATE LAW GROUP
     1342 ROLLINS ROAD
3    BURLINGAME, CA 94010
     Telephone:   (650) 227-8000
4    Facsimile:   (650) 227-8001
     paul@tclg.com
5    megan@tclg.com
6    Attorneys for Plaintiff
     MENTOR CAPITAL, INC.
7

8
                                      UNITED STATES DISTRICT COURT
9
                              FOR THE NORTHERN DISTRICT OF CALIFORNIA
10
       MENTOR CAPITAL, INC.,                              )    Civil Action No. 3:14-cv-03630-LB
11
                                                          )
12            Plaintiff.                                  )    DECLARATION OF PAUL
                                                          )    MAROTTA IN SUPPORT OF
13                               v.                       )    MENTOR CAPITAL, INC.’S
                                                          )    MOTION TO APPOINT A
14     BHANG CHOCOLATE COMPANY, INC., a                   )    RECEIVER
15
       Nevada corporation and BHANG                       )
       CORPORATION, a Nevada corporation,                 )    Date:         August 10, 2017
16                                                        )    Time:         9:30 a.m.
              Defendants.                                 )    Courtroom:    C
17                                                        )
                                                          )
18

19           I, Paul Marotta, declare as follows:
20           1.         I am an attorney practicing with The Corporate Law Group, counsel to Mentor
21   Capital, Inc., a Delaware corporation, judgment creditor in the above captioned matter.
22           2.         I am admitted to practice before all of the courts of the State of California, the
23   United States District Court for the Northern District of California and the United States Court of
24   Appeal for the Ninth Circuit.
25           3.         Except for such matters which are stated on information and belief, the matters
26   stated herein are known to me personally, and if called and sworn as a witness I could competently
27   testify thereto.
28


                                           -1-
     DECLARATION OF PAUL MAROTTA IN SUPPORT OF MENTOR CAPITAL, INC.’S MOTION TO
     APPOINT A RECEIVER – 3:14-cv-03630-LB
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2           4.        A monetary judgment was entered in Mentor’s favor against Bhang Corporation, aka
3    Bhang Chocolate Company, Inc. (together “Bhang”), on December 29, 2016, in the amount of
4    $1,921,534.62 (“Judgment”). Interest accrues on the Judgment at the rate of $526.45 per day.
5           5.        After entry of the Judgment, we reached out to Bhang’s Florida counsel to discuss
6    payment by Bhang of the Judgment. Bhang has made no attempts to pay any portion of the
7    Judgment and we have never received a response to our attempts to discuss payment of the
8    Judgment with Florida counsel.
9           6.        Our office has prepared and requested that the United States Marshal for the
10   Northern District of California serve at least 16 levies on various banks, California licensees of
11   Bhang, attorneys, and Bhang service providers.
12          7.        In response to such levies, Bank of America has remitted approximately $30,000 to
13   the U.S. Marshal. No other banks have any record of an account opened or maintained in the name
14   of Bhang.
15          8.        In response to a levy served on Alta Supply, Inc., the purported Northern California
16   distributor of Bhang products and an entity owned by Bhang executive and owner, Richard Sellers,
17   Alta Supply, Inc. responded that, “we do not owe any money or any other obligation to the
18   judgment debtor nor do we have possession or control of any property of the judgment debtor,” and
19   “we owe no obligation to the judgment debtor that is levied upon but not yet due and payable.”
20          9.        A true and correct copies of the Memorandum of Garnishee received from Alta
21   Supply, Inc. and Alta Supply, Inc.’s Statement of Information showing that Richard Sellers is both
22   the Chief Executive Officer and a director are attached hereto as Exhibits A and B, respectively.
23          10.       During the course of the arbitration in this matter we learned that Bhang received a
24   few million dollars in revenues during 2015, including large monthly amounts from the California
25   vape licensee.
26          11.       We have also perfected judgment liens against Bhang in Florida and California, and
27   filed a financing statement against Bhang in Nevada. Bhang, unfortunately, does not have any
28   property, real or personal, on which to execute.

                                           -2-
     DECLARATION OF PAUL MAROTTA IN SUPPORT OF MENTOR CAPITAL, INC.’S MOTION TO
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1              12.    We have also filed liens against Bhang trade and service marks for which
2    registration has been granted or registration is in process with the U.S. Patent and Trademark
3    Office.
4              13.    On or about May 3, 2017 I was taking depositions of two witnesses in Florida in a
5    case pending in the United States District Court for the District of Utah. That case and this one are,
6    in a sense related, sharing some claims, counsel, expert witnesses, and involving affiliated parties.
7              14.    One of the lawyers in that case, Boyd Jentzsch, also represented judgment debtor
8    Bhang in this case.
9              15.    During a break I asked Mr. Jentzsch why Bhang had made no effort to resolve the
10   judgment in this case, or pay Mentor.
11             16.    I was surprised when Mr. Jentzsch indicated to me that Bhang would not make any
12   offers to resolve this matter.
13             I declare under penalty of perjury under the laws of the State of California that the foregoing
14   is true and correct and that this Declaration was signed by the undersigned on June 29, 2017 at
15   Burlingame, California.
16

17                                                           /Paul Marotta/
                                                             Paul Marotta
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     DECLARATION OF PAUL MAROTTA IN SUPPORT OF MENTOR CAPITAL, INC.’S MOTION TO
     APPOINT A RECEIVER – 3:14-cv-03630-LB
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                    EXHIBIT A
                  To Declaration of Paul Marotta
         In support of Judgment Creditor Mentor Capital's
                        Motion for a Receiver



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        MEMORANDUM OF GARNISHEE
                                                        (Attachment-Enforcement of Judgment)

    NOTICE TO PERSON SER\/l!O WITH WRIT ANO NOTICE OF I.EVY OR NOT'ICE OF
    A1TACHMENT: This m1tmo111nd\IJI\ mual bO complolod
    1evy1n9 offlcor within 10 days aftor 1orvlco on you of tl't& wri.t end notice of levy
                                                                                          '"cl
                                                                    mallOd or dollvorod to the
                                                                                                                                                       This memorandum doea not apply
                                                                                                                                                       to garnishment of aa.rnings.
    or altachmont unloss you t1a110 fully complkld with th• lrwy. Falluro to c.omploto and
    rol\lrn this moml:!tandum may rondor you llablo lortho costs and anornoy toos incur·
    rod In obtaining :no roquirod Information.
              - RETURN ALL COPIES OF THIS MEMORANOUM TO THE LEVYING OFFICER -


          a. Gamlsnee (nam&,! Alta Suppl y, Inc. cln Todd Wint fr
           b AOnress 1901 Ncwpon !~hid., Sui1e 3 ~C . C'nsta Mcsr1. C\ •J2o2 ~

    2 . ,iudgmenl Credito1 (nDm !1) !Vfe11k 1; ('apital. !nc .
     3. Q[} (Check d apollcable) Tne garnishee nolds neither arw ornperty nor <my 0011qat;ons 1n 'aver 1;! tne JU<l[Jment debtor.

      4. If you v.111 no1 r.Jeh11e1 to ;he levying officer ony cn:ipertf ie•t.e·:l uPOll. oescnce 1he ;:ir;;oert·1 an:: th& r~c;sor' for not de'ivenny :t:



         We do not owe any money or any other •.)l)figat1on to the Judgment d<;btor rio r do w e have
         possession or control of any property of the Jud9ment debtor.




      5. For •wit of execution only . Oescnb"' any prcperty or !tao 1uc!-;irn;n1 oeb~or no~ levied ~ pc.n :r.at t:> "' yo.Jr possession or under your
           contrOl.

             W e have no property cif lh(:t judgrrn:~ni. •lo!)to r not. lavi,::d d i)O >' •n ._. 1.11 t.1. ;;;:·:•:, :y:;ic1r1 c,r cc·r·,trol.




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    .c.i . .tlifit.J.~ '!Z V
                                                                                (A.ttachment-Enforcement of Jud9mont)                                                                                                          ~0 1 .0 :.0
        Case 3:14-cv-03630-LB Document 57-2 Filed 06/30/17 Page 6 of 10




                                                                                                                                       AT-167/EJ-152
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SHORT TITLE •                          . --··                         l 1.h••••(1(,rr.ctnru.r r;o             \ <·"~ :;wt'l1~; ~!.'> ~o l !3

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 Mentor Capilal. lne. v. Bhang Chocolmc Comptmy.

 6. If you owe money to the jU:lgment o~ntcr wi'11ch you v.;u not pay to tl'le levying offic&r. descr0oe the- amount anc: the te1ms of the
   obligation and the reasor. far not paying i\ lo \lw levy<r,9 aff1cer



   We owe no money or any other obligation to the judgment debtor.




 7 Oescrioe the ilfJIOunt and t1:rms o! :iny obligation ow'J!J 1<1 11\0 j<Jd!;jo-r•ent cobtor lhat is levit:><l upon tml •S r.ot yel due and payable.


    We owe no obligation to the judgment debtor that is levied upon but not yet due and payable.




  a. For writ of elCecu\ion only. Describe uii:i amount aml lam's cf any o0ti9at1on owed!() tne iudgrflent debtor \hat is not l!!'JJed upon




   We owe no obligation to the judgment debtor that is not levied upon




   9 Das<:r1b!:t an)' cialM' aml rghts •'.l! o!Her parsons to the prcr.erty o· obligation levied upon that ar.; i<li<;"torn lo vou and the: Ml'i'les
     ano ar:leiressos of tho ot!1or aerscns.

       We do not owe any money or any other obligation to the judgment debtor and have no knowledge
       of any claims and rights of other persons to such an obligation.




                                                            DECL/\RA TION OF GARNISHEE




        If you neod moro apaco to provldct U10 inform.iron requlr11d by this momorandum, you may atbch 11ddltional pages.
       0     Total numbor of pagos attached;

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                                                       MEMORANDUM OF GARNISHEE
                                                   (Attachment-Enforcement of Judgment)
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                     EXHIBITB
                  To Declaration of Paul Marotta
         In support of Judgment Creditor Mentor Capital's
                        Motion for a Receiver



     Northern District of California Case Number 3:14-cv-03630-LB
                         Case 3:14-cv-03630-LB Document 57-2 Filed 06/30/17 Page 8 of 10

                                 State of California                                                  S
                                    Secretary of State
                              Statement of Information                                                                          FN51823
              (Domestic Stock and Agricultural Cooperative Corporations)
                            FEES (Filing and Disclosure): $25.00.
                         If this is an amendment, see instructions.
                                                                                                                               FILED
       IMPORTANT – READ INSTRUCTIONS BEFORE COMPLETING THIS FORM                                                  In the office of the Secretary of State
1. CORPORATE NAME                                                                                                        of the State of California
ALTA SUPPLY, INC.

                                                                                                                              JUN-27 2017


2. CALIFORNIA CORPORATE NUMBER
                                               C3746278                                                                   This Space for Filing Use Only

No Change Statement (Not applicable if agent address of record is a P.O. Box address. See instructions.)
3.    If there have been any changes to the information contained in the last Statement of Information filed with the California Secretary
      of State, or no statement of information has been previously filed, this form must be completed in its entirety.
            If there has been no change in any of the information contained in the last Statement of Information filed with the California Secretary
            of State, check the box and proceed to Item 17.

Complete Addresses for the Following (Do not abbreviate the name of the city. Items 4 and 5 cannot be P.O. Boxes.)
4.    STREET ADDRESS OF PRINCIPAL EXECUTIVE OFFICE                                                CITY                            STATE        ZIP CODE
3478 BUSKIRK AVE. SUITE 1000, PLEASANT HILL, CA 94523
5.    STREET ADDRESS OF PRINCIPAL BUSINESS OFFICE IN CALIFORNIA, IF ANY                           CITY                            STATE        ZIP CODE
3478 BUSKIRK AVE. SUITE 1000, PLEASANT HILL, CA 94523
6.    MAILING ADDRESS OF CORPORATION, IF DIFFERENT THAN ITEM 4                                    CITY                            STATE        ZIP CODE


7.    EMAIL ADDRESS FOR RECEIVING STATUTORY NOTIFICATIONS


Names and Complete Addresses of the Following Officers (The corporation must list these three officers. A comparable title for the specific
officer may be added; however, the preprinted titles on this form must not be altered.)
7.    CHIEF EXECUTIVE OFFICER/                 ADDRESS                                            CITY                            STATE        ZIP CODE
     RICHARD SELLERS          3478 BUSKIRK AVE. SUITE 1000, PLEASANT HILL, CA 94523
8.    SECRETARY                                ADDRESS                                            CITY                            STATE        ZIP CODE
     SADIE REYES        3478 BUSKIRK AVE. SUITE 1000, PLEASANT HILL, CA 94523
9.    CHIEF FINANCIAL OFFICER/                 ADDRESS                                            CITY                            STATE        ZIP CODE
     RICHARD SELLERS          3478 BUSKIRK AVE. SUITE 1000, PLEASANT HILL, CA 94523
Names and Complete Addresses of All Directors, Including Directors Who are Also Officers (The corporation must have at least one
director. Attach additional pages, if necessary.)
10. NAME                                       ADDRESS                                            CITY                            STATE        ZIP CODE
 JESSICA LILGA           3478 BUSKIRK AVE. SUITE 1000, PLEASANT HILL, CA 94523
11. NAME                                       ADDRESS                                            CITY                            STATE        ZIP CODE
 LOU MACHADO             3478 BUSKIRK AVE. SUITE 1000, PLEASANT HILL, CA 94523
12. NAME                                       ADDRESS                                            CITY                            STATE        ZIP CODE
 SADIE REYES           3478 BUSKIRK AVE. SUITE 1000, PLEASANT HILL, CA 94523
13. NUMBER OF VACANCIES ON THE BOARD OF DIRECTORS, IF ANY:
Agent for Service of Process If the agent is an individual, the agent must reside in California and Item 15 must be completed with a California street
address, a P.O. Box address is not acceptable. If the agent is another corporation, the agent must have on file with the California Secretary of State a
certificate pursuant to California Corporations Code section 1505 and Item 15 must be left blank.
14. NAME OF AGENT FOR SERVICE OF PROCESS [Note: The person designated as the corporation's agent MUST have agreed to act in that capacity prior to the designation.]
 TODD WINTER
15. STREET ADDRESS OF AGENT FOR SERVICE OF PROCESS IN CALIFORNIA, IF AN INDIVIDUAL CITY                                           STATE        ZIP CODE
 1901 NEWPORT BLVD., COSTA MESA, CA 92627
Type of Business
16. DESCRIBE THE TYPE OF BUSINESS OF THE CORPORATION
 DISTRIBUTION
17. BY SUBMITTING THIS STATEMENT OF INFORMATION TO THE CALIFORNIA SECRETARY OF STATE, THE CORPORATION CERTIFIES THE INFORMATION
    CONTAINED HEREIN, INCLUDING ANY ATTACHMENTS, IS TRUE AND CORRECT.
06/27/2017             TODD WINTER                                                 ATTORNEY RECORD
     DATE                TYPE/PRINT NAME OF PERSON COMPLETING FORM                           TITLE                                SIGNATURE
SI-200 (REV 01/2013)                                                     Page 1 of 2                                       APPROVED BY SECRETARY OF STATE
                        Case 3:14-cv-03630-LB Document 57-2 Filed 06/30/17 Page 9 of 10

                                                                                  S
                        State of California                                                 FN51823
                          Secretary of State
                                  Attachment to
                             Statement of Information
                (Domestic Stock and Agricultural Cooperative Corporations)
                                                                                      This Space for Filing Use Only

A. CORPORATE NAME
    ALTA SUPPLY, INC.




B. CALIFORNIA CORPORATE NUMBER             C3746278
C. List of Additional Directors



    NAME                                  ADDRESS                          CITY       STATE                 ZIP CODE


   RICHARD SELLERS           3478 BUSKIRK AVE. SUITE 1000, PLEASANT HILL, CA 94523
    NAME                                  ADDRESS                          CITY       STATE                 ZIP CODE



    NAME                                  ADDRESS                          CITY       STATE                 ZIP CODE



    NAME                                  ADDRESS                          CITY       STATE                 ZIP CODE



    NAME                                  ADDRESS                          CITY       STATE                 ZIP CODE



    NAME                                  ADDRESS                          CITY       STATE                 ZIP CODE



    NAME                                  ADDRESS                          CITY       STATE                 ZIP CODE



    NAME                                  ADDRESS                          CITY       STATE                 ZIP CODE



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    NAME                                  ADDRESS                          CITY       STATE                 ZIP CODE



    NAME                                  ADDRESS                          CITY       STATE                 ZIP CODE



SI-200A (REV 01/2013)                                        Page 2 of 2
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1
                                      CERTIFICATE OF SERVICE
2

3            I am a citizen of the United States. My business address is 1342 Rollins Road, Burlingame,
     CA 94010. I am employed in the County of San Mateo, from which this service occurred. I am
4    over the age of 18 years, and am not a party to the above-captioned action. On the date below I
     served the following documents:
5
            DECLARATION OF PAUL MAROTTA IN SUPPORT OF MENTOR CAPITAL,
6           INC.’S MOTION TO APPOINT A RECEIVER
7           On the following person(s) in this action by:
8           [X]     E-SERVICE by filing the document listed above with the courts ECF service such
                    that all attorneys of record received Notice of Electronic Filing from the court clerk
9                   as follows:
10                  Jaime Bianca Herren     jherren@doylelow.com, mlow@doylelow.com
11
             I declare under penalty of perjury under the laws of the United States and State of California
12   that the above is true and correct. Executed on June 30, 2017 at Burlingame, California.
13
                                                            /s/ Megan Jeanne___________________
14                                                          Megan Jeanne
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     CERTIFICATE OF SERVICE – 3:14-cv-03630-LB
